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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
UNITED STATES OF AMERICA


                 v.                                              18-CR-799 (KMW)
                                                                      ORDER
ZIYU WANG,

                                    Defendant.
--------------------------------------------------------X
KIMBA M. WOOD, United States District Judge:

        In an effort to reduce all parties’ risk of exposure to COVID-19, the sentencing scheduled

for March 24, 2020 at 2:00 p.m. is adjourned sine die.



 Dated: New York, New York
        March 17, 2020                                        /s/ Kimba M. Wood
                                                               KIMBA M. WOOD
                                                            United States District Judge
